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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

 ALISHA BERMADEZ
 4304 Miller Road, Apt 101
 Wilmington, Delaware, 19802

                Plaintiff,                           CIVIL ACTION NO:
        v.                                           COMPLAINT WITH JURY DEMAND
 BARCLAY CARD US
 700 Pride’s Crossing
 Wilmington, Delaware, 19713

                Defendant.



                                CIVIL ACTION COMPLAINT

       Plaintiff Alisha Bermadez (“Plaintiff”), by and through undersigned counsel, hereby

complains as follows against Defendant Barclay Card US (“Defendant”).

                                        INTRODUCTION

       1.      Plaintiff has initiated this action to Defendant’s redress violations of the Americans

with Disabilities Act (“ADA”) and the Delaware Persons with Disabilities Employment

Protections Act (“PDEPA”). Defendant discriminated against Plaintiff due to her disability, failed

to grant her requests for accommodation, and/or retaliated against her because of her requests,

causing Plaintiff to suffer damages as set forth herein.

                                 JURISDICTION AND VENUE

       2.      The foregoing paragraphs are incorporated herein as if set forth in their entirety.

       3.      This Court may properly maintain personal jurisdiction over Defendant because

Defendant’s contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendant to comply with traditional notions of fair play and substantial justice.


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        4.      This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because the claims herein arise under laws of the United States, the ADA. This

Court has supplemental jurisdiction over the related state law claims because they arise out of the

same circumstances and are based upon a common nucleus of operative fact.

        5.      Venue is properly laid in this judicial district pursuant to 28 U.S.C. §§ 1391(b)(1)

and (b)(2), because Defendant resides in and/or conducts business in this judicial district and

because a substantial part of the acts and/or omissions giving rise to the claims set forth herein

occurred in this judicial district.

        6.      Plaintiff has exhausted all administrative prerequisites to her filing of her instant

ADA and DPDEPA claims.

                                              PARTIES

        7.      The foregoing paragraphs are incorporated herein as if set forth in full.

        8.      Plaintiff is an adult individual, with an address as set forth in the caption.

        9.      At all times relevant herein, Plaintiff worked for Defendant at its facility located at

the address set forth in the caption.

        10.     Defendant is a business entity that does business in Delaware at the above captioned

address.

        11.     At all times relevant herein, Defendant acted through its agents, servants, and

employees, each of whom acted at all times relevant herein in the course and scope of their

employment/engagement with Defendant.

                                      FACTUAL BACKGROUND

        12.     The foregoing paragraphs are incorporated herein as if set forth in full.

        13.     In or about March 2015, Defendant hired Plaintiff as a temporary fraud analyst.



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       14.     In or around early June 2015, Defendant offered Plaintiff a permanent position as

a fraud analyst.

       15.     In or around September 2015, Plaintiff was diagnosed with endometriosis, high

blood pressure, and diabetes (hereinafter collectively referred to as Plaintiff’s “Disability”).

       16.     Plaintiff’s physician informed her that she would require surgery due to her

Disability.

       17.     Plaintiff immediately informed Supervisor Jennifer Cherundolo (“Supervisor

Cherundolo”) of her Disability and need for surgery.

       18.     Thereafter, Plaintiff occasionally missed work and/or arrived late and/or left work

early to seek treatment with her physicians.

       19.     In or around late September and/or early October 2015, Supervisor Cherundolo told

Plaintiff that even paid sick time required a doctor’s note to avoid negatively impacting an

employee’s attendance record.

       20.     Plaintiff then provided Supervisor Cherundolo notes from her physician to excuse

her aforementioned absences.

       21.     Upon receiving Plaintiff’s doctors’ notes, Supervisor Cherundolo told Plaintiff she

‘wasn’t sure what to do with it,’ but that she would forward same to Defendant’s Human Resources

Department.

       22.     In or around early November 2015, Supervisor Cherundolo met with Plaintiff to

discuss Plaintiff’s absences.

       23.     Plaintiff again explained to Supervisor Cherundolo that her absences were related

to her Disability and/or the treatment of same and that, she at Supervisor Cherundolo’s request,

had provided doctor’s notes to excuse the absences.



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        24.     Supervisor Cherundolo then told Plaintiff that she had discretion to decide whether

her doctor’s notes excused her absences and that Plaintiff’s excess of absences required Plaintiff

to contact Defendant’s Employee Benefit and/or Human Resources departments.

        25.     Accordingly, Plaintiff contacted both the Human Resources Department and

Employee Benefit Departments and obtained an application for short-term disability benefits.

        26.     Less than two weeks later, on or around November 12, 2015, Supervisor

Cherundolo escorted Plaintiff to the Human Resources Department.

        27.     Upon Plaintiff’s arrival with Supervisor Cherundolo, Defendant’s Human Resource

Manager (name unknown) told Plaintiff she was fired for taking too many absences.

        28.     Further, Human Resource Manager told Plaintiff that her termination was based

solely on her absences and not her performance.

        29.     Plaintiff explained that she had provided doctor’s notes to substantiate her absences

and that she would be willing to get more information from her physicians to substantiate them, if

necessary.

        30.     However, Defendant refused to listen and insisted Plaintiff was fired.

        31.     As a result of the foregoing, Plaintiff has suffered damages.

                                             COUNT I
                                      Violation of the ADA
                                    (Disability Discrimination)

        32.     The foregoing paragraphs are incorporated herein as if set forth in full.

        33.     At all times relevant, Plaintiff’s Disability rendered her an individual with a

disability under the ADA.

        34.     At all times relevant herein, Defendant perceived Plaintiff to be suffering from

disability and/or disabilities.



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        35.     At all times relevant herein, Defendant was and continues to be an “employer”

within the meaning of the ADA.

        36.     At all times relevant herein, Defendant employed Plaintiff as an “employee” within

the meaning of the ADA.

        37.     The ADA prohibits employers, such as Defendant, from terminating an employee

on the basis of a disability.

        38.     Discrimination against an employee because of her disability constitutes disability

discrimination under the ADA.

        39.     Defendant violated Plaintiff’s rights under the ADA by firing Plaintiff because she

suffered from her disability.

        40.     As a result of Defendant’s unlawful actions, Plaintiff has and continues to suffer

damages.

                                            COUNT II
                                      Violation of the ADA
                                    (Failure to Accommodate)

        41.     The foregoing paragraphs are incorporated herein as if set forth in full.

        42.     Plaintiff asked Defendant for an accommodation for her disability in the form of

time off to seek treatment with her physicians.

        43.     Defendant failed to grant Plaintiff’s request and instead fired her.

        44.     As a result of Defendant’s unlawful actions, Plaintiff has and continues to suffer

damages.

                                            COUNT III
                                       Violation of the ADA
                                           (Retaliation)

        45.     The foregoing paragraphs are incorporated herein as if set forth in full.



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        46.     Plaintiff asked Defendant for an accommodation for her disability in the form of

time off to seek treatment with her physicians.

        47.     Defendant fired Plaintiff, in-part, in retaliation for requesting an accommodation

and/or to prevent her from requesting future accommodations.

        48.     As a result of Defendant’s unlawful actions, Plaintiff has and continues to suffer

damages.

                                            COUNT IV
                                     Violation of the DPDEPA
                                    (Disability Discrimination)

        49.     The foregoing paragraphs are incorporated herein as if set forth in full.

        50.     At all times relevant, Plaintiff’s disabilities rendered her an individual with a

disability under the DPDEPA.

        51.     At all times relevant herein, Defendant perceived Plaintiff to be suffering from a

disability and/or disabilities.

        52.     At all times relevant herein, Defendant was and continues to be an “employer”

within the meaning of the DPDEPA.

        53.     At all times relevant herein, Defendant employed Plaintiff as an “employee” within

the meaning of the DPDEPA.

        54.     The DPDEPA prohibits employers, such as Defendant, from terminating an

employee on the basis of a disability.

        55.     Discrimination against an employee because of her disability constitutes disability

discrimination under the DPDEPA.

        56.     Defendant violated Plaintiff’s rights under the DPDEPA by firing Plaintiff because

she suffered from her disability.



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       57.     As a result of Defendant’s unlawful actions, Plaintiff has and continues to suffer

damages.

                                           COUNT VI
                                    Violation of the DPDEPA
                                    (Failure to Accommodate)

       58.     The foregoing paragraphs are incorporated herein as if set forth in full.

       59.     Plaintiff asked Defendant for an accommodation for her disability in the form of

time off to seek treatment with her physicians.

       60.     Defendant failed to grant Plaintiff’s request and instead fired her.

       61.     As a result of Defendant’s unlawful actions, Plaintiff has and continues to suffer

damages.

                                           COUNT VII
                                    Violation of the DPDEPA
                                           (Retaliation)

       62.     The foregoing paragraphs are incorporated herein as if set forth in full.

       63.     Plaintiff informed Defendant of her disabilities and asked for an accommodation

for her disability in the form of time off to seek treatment with her physicians.

       64.     Defendant fired Plaintiff, in-part, in retaliation for requesting an accommodation

and/or to prevent her from requesting future accommodations.

       65.     As a result of Defendant’s unlawful actions, Plaintiff has and continues to suffer

damages.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendant is to be prohibited from maintaining its illegal policy, practice, or custom

of discriminating against employees or prospective employees based on their disability, and/or

need for an accommodation;



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       B.      Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole

for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s

illegal actions, including but not limited to lost past earnings and future lost earnings;

       C.      Plaintiff is to be awarded liquidated and/or punitive damages in an amount believed

by the Court or trier of fact to be appropriate to punish Defendant for their willful, deliberate,

malicious, and outrageous conduct and to deter Defendant or other employers from engaging in

such misconduct in the future;

       D.      Plaintiff is to be awarded damages for emotional distress and/or pain and suffering

and is to be accorded any and all other equitable and legal relief as the Court deems just, proper,

and appropriate;

       E.      Plaintiff is to be awarded the costs and expenses of this action and reasonable legal

fees as provided by applicable law; and

       F.      Plaintiff’s claims are to receive a trial by jury.

                                               Respectfully submitted,

                                               LAW OFFICE OF A. DALE BOWERS, P.A.

                                                /s/ A. Dale Bowers
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